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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


Brent Watkins

       Plaintiff
                                                   CIVIL ACTION
            V.
Covergent Outsourcing, Inc. et. al.            NO. 1:16-cv-10547-PBS

      Defendants


                              ORDER OF DISMISSAL


SARIS, Chief Judge


      Pursuant to Rule 4.1 of the Local Rules of this Court regarding dismissal for

for failure to make service. It is hereby ORDERED that the above-entitled action be

and hereby is dismissed.


                                            By the Court,

      7/25/2016                             /s/C. Geraldino-Karasek

      Date                                  Deputy Clerk
